Exhibit 2
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                                               August L,2O!9



The Honorable Catherine D. Perry
U.S. District Court for the Eastern District of Missouri
111 South 10th Street
St. Louis, MO 63102

Re:       lJnited Stotes of Americo v. Steven V. Stenger, Cause No. 4:19CR312
          United Stotes of Americo v. Sheilo A. Sweeney, Cause No. 4:19CR375

Dear Judge Perry:


ln accordance with pleas entered by Steven V. Stenger and Sheila A. Sweeney, the defendants in the above
referenced cases (together, the "Defendants"), the St. Louis Economic Development Partnership (the
"Partnership") is a victim of crimes committed by Stenger and Sweeney. Please accept this letter as a
statement on behalf of the Partnership under 18 U.S.C. 5 377L.

The Partnership (formerly known as the St. Louis County Economic Council) is a non-profit corporation
formed, in 1984, under Missouri law and is the regional economic development agency for St. Louis. ln
2013, the Partnership adopted its current name and consolidated certain economic development
activities of St. Louis County and St. Louis City. The County Executive appoints eleven Directors to the
Partnership's Board; the Mayor of the City of St. Louis appoints four. All but a small portion of the
Partnership's activities are funded with public money. The Partnership also administers numerous
economic development political subdivisions and corporations including the St. Louis County Port
Authority ("Port Authority") and the Land Clearance for Redevelopment Authority of the County of St.
Louis ("LCRA").


The corruption scheme Stenger and Sweeney devised and executed, as described in their guihy pleas,
caused substantial direct financial loss to the Partnership, including the following:

      a   Public contracts awarded to private parties at the direction of Stenger and approved by Sweeney,
          some of which produced little or no public benefit for the Partnership and its affiliated entities
          including the Port Authority and the LCRA.
      a   Substantial and ongoing legal fees and costs for the Partnership's cooperation with the federal
          investigation.
          Uncalculated substantialcost of staff time to gather data and respond to investigation inquiries.
          Direct out-of-pocket costs expected to be incurred as a result of the Missouri State Auditor's
          impending audit.
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ln addition to directfinancial losses of the Partnership, the Defendants'conduct has immeasurably injured
the public's trust and perception of the Partnership. Damage to the Partnership's reputation hinders its
effectiveness in accomplishing its mission to attract, retain and facilitate the growth of businesses in the
St. Louis region.

    o    Since approximately 2Ol7,local and national media outlets have published hundreds of articles
         implicating the Partnership in the Defendants'crimes and conduct. Articles have characterized
         the Partnership as "beleaguered" and at the center of political battles and the federal
         investigation.
    o    The St. Louis County Council conducted an almost year-long, widely reported ethics investigation
         of the Partnership, and withheld Partnership funding until recently.
    o    lndustry partners and potential Board members have expressed concerns about their own
         reputations as a result of association with the Partnership.
    o    The Partnership had been held in high esteem by the lnternational Economic Development
         Council (the "|EDC") as one of only 60 accredited economic development organizations in the
         United States. The Defendants'use of the Partnership in public corruption has tainted the
         Partnership's reputation within the IEDC and the wider economic development community.

Similarly, the Defendants' conduct interrupted normal Partnership functions and operational capability.
During Sweeney's tenure, from approximately September 30, 2015 to January 3,2019, more than 60% of
the Partnership's staff was replaced. By 2018, under intense public scrutiny and County                           Council
investigation, Partnership leadership and operations had become dysfunctional.

    o    Prio r to Ste nger   a   nd Sweeney's ten   u   re, the average yea rs of service of Pa rtners hip em ployees was
         15 years. Today, five years later, the average years of service of Partnership employees is about 6
         years.
    o    The total number of Partnership employees before Stenger and Sweeney administrations was 68.
         Today, the total number of Partnership employees is 54.

The extraordinary loss of human capital and severe reputational damage are compounded by budget
uncertainties, all of which hinder the Partnership's ability to attract and retain talent in the economic
development field. lt is virtually impossible to estimate the time and cost to rebuild the Partnership's
reputation and capabilities.

Finally, there has been a human cost of the Defendants'crimes among current and former Partnership
employees.

    a    Current employees express shock and anger at the betrayal by Sweeney knowing that she directly
         deceived them to carry out directives from Stenger.
    a    Employees report conflicts with family, and within their personal and professional communities
         regarding their association with the Partnership

As described above, the actions of the Defendants severely injured the Partnership and its constituents
financially, operationally, and reputationally. This damage will have lasting impact on the entire St. Louis
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region that the Pannership serves. Notwithstanding the wrongful and illegal actions of the Defendants,
the Partnership is committed to working to restore the trust of the St. Louis community in the Partnership
and to continuing its important mission to foster economic growth throughout the St. Louis region.

Thank you for considering this information.

Sincerely,

The Board of Directorc of the St. Louis Economic Development Partnership
